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 6

 7
                            UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA

 9
      UNITED AFRICAN-ASIAN                    Case No: '24CV0273 MMA DEB
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      GAINES STREET                           12955; CA Civil Code §§ 51, 52,
17    APARTMENTS, LLC; AND                    54.3
18
      DOES 1 THROUGH 10, Inclusive
                                              DEMAND FOR JURY TRIAL
19                        Defendants.
20
                                        INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Southern District of California pursuant to 28
28

                      1
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 1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
     Judicial District.
 3
                              SUPPLEMENTAL JURISDICTION
 4
     3.      This United States District Court for the Southern District of California has
 5
     supplemental jurisdiction over the California state claims as alleged in this
 6
     Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
     4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6. Plaintiffs are informed, believe, and thereon allege that named Defendant
18
     GAINES STREET APARTMENTS, LLC and is the operator of the apartment rental
19
     business known as Gaines Street Apartment located at 5720-5740 Gaines Street San
20
     Diego, CA 92110. Plaintiffs are informed, believe, and thereon allege that
21

22
     Defendant GAINES STREET APARTMENTS, LLC, is the owner, operator, and/or

23
     lessor of the real property located at 5720-5740 Gaines Street San Diego, CA 92110

24
     (hereinafter referred to as the “Property”).

25
     7.    Defendant GAINES STREET APARTMENTS, LLC, is, and at all times

26
     mentioned herein were, a business or corporation or franchise, organized and

27
     existing and/or doing business under the laws of the State of California. Defendants

28

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 1
     Does 1 through 10, were at all times relevant herein subsidiaries, employers,
 2
     employees, and/or agents of the named Defendants.
 3
                                  CONCISE SET OF FACTS
 4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
 8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18
     where Defendants control the content. Exhibit B states the websites controlled by
19

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26
     Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
                                                                                 COMPLAINT
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 1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 2
     obtain information regarding the physical accessibility of Defendants’ rental services
 3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
 4
     Plaintiff Club sent one of its members to Defendants’ property. The named
 5
     Individual Plaintiff personally reviewed all the information and photographs of
 6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
 7
     knowledge of the overt and obvious physical and communication barriers to
 8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16
     website. The named Individual Plaintiff made a written request to Defendants’ for
17

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in December, 2023, and in February, 2024. The named Plaintiffs

28

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 1
     investigated Defendants apartment property and Defendants websites. Plaintiff Club
 2
     member Sharon Riguer investigated the Property on the Internet websites.
 3
     Additional Plaintiff Club members investigated Defendants websites and found that
 4
     they did not provide equal access. The results of the research from Club Member
 5
     Sharon Riguer are contained in the Exhibit B to this Complaint. Club members
 6
     ascertained that Defendants’ rental services at Defendants Property were not
 7
     physically accessible to Plaintiff Lee by a Club member with a disability who went
 8
     to Defendants’ apartment Property, and said Club member attempted to access
 9
     Defendants’ on-site rental services.
10
     11.   Plaintiff Club diverted its time and resources from its normal purposes
11
     because of Defendants’ service, policy, program and physical barriers to Defendants
12
     rental services at Defendants’ websites and Property. Club personnel conducted
13
     detailed Internet searches to determine if Defendants provide large print, deaf
14
     interpreter, therapy animal, the required reasonable accommodation policy, and
15
     required reasonable modification policy. Further, the Club retained contractors to
16
     investigate said policies, to survey the property, to photograph the property, to
17
     investigate when the Property was constructed, to investigate the Property ownership
18
     and to have an access report prepared. Plaintiff Club also diverted staff to
19
     investigate Defendants' Internet presence to determine compliance with the FHA and
20
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
21

22
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

23
     investigation to ascertain Defendants' companion animal, deaf interpreter and

24
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

25
     caused a physical access consultant to be retained to survey Defendants' facility.

26
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

27
     incorporated into an Access Report. The Access Report also details the known overt

28

                      5
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 1
     and obvious physical access violations at the Property, but it is not intended as an
 2
     exhaustive list of existing violations. Due to these necessary activities to investigate,
 3
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 4
     Club suffered injury and also suffered monetary damages due to the diversion of the
 5
     Club’s resources from its normal purposes.
 6
     12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
 7
     different apartment websites where Defendants offer its rental services.
 8
     Additionally, Defendants provide rental services located at the Property.
 9
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
10
     physical site rental services because the websites refer to Defendants’ rental services
11
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
12
     Plaintiffs allege that the websites are also places of public accommodation.
13
     Defendants control the websites to the extent that Defendants can change the website
14
     content to make modifications to comply with the FHA and ADA. Therefore,
15
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
16
     improve access for Plaintiffs and people with disabilities.
17
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
18
     TTY number or the text messaging system for Plaintiffs and other people that are
19
     deaf or people with speech conditions. Plaintiff Club members have a speech
20
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
21

22
     websites to eliminate non-readable text to allow the blind and people with low vision

23
     to use the screen reader software to access the information on the website, yet they

24
     also failed to use large print on their websites. See Exhibit B to this Complaint.

25
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

26
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

27
     discriminate against Plaintiff Club, specifically Club members who have low vision

28

                      6
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 1
     disabilities. Each of the Club members above cannot use the websites controlled by
 2
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
 3
     the rental services provided and will also not cause an undue burden to Defendants,
 4
     because the cost is less than One Thousand Dollars ($1,000).
 5
     15.   On December 31, 2023, and on a second subsequent date, Plaintiff Club
 6
     attempted to make a request to the Defendants for reasonable accommodation at the
 7
     property. On January 24, 2024, the named individual Plaintiff LEE and Plaintiff
 8
     Club emailed to the Defendants a written request for a reasonable accommodation.
 9
     In February, 2024, Plaintiff LEE and Plaintiff Club, mailed a written request for a
10
     reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
11
     for reasonable accommodation as of the date of the filing of this Civil Complaint.
12
     16.   Plaintiffs are not able to access Defendants rental services due to existing
13
     overt and obvious communication and physical barriers to access Defendants’ rental
14
     services both at its online website and at the property. Due to the overt and obvious
15
     physical barriers as alleged herein below, which are required to be removed,
16
     Plaintiffs requested that Defendants accommodate them to provide access to
17

18
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
19
     whole group of the protected persons requires it. For example, when the public
20
     without disabilities are required to get up to a second level, the public would be very
21

22
     disturbed if they were required to request steps to go up to second level. When the

23
     accommodation is specific to a particular person with a disability, then that person

24
     may be required to make a request, because the accommodation is not obvious.

25
     18.   Plaintiffs allege that they are not required to make a request for reasonable

26
     accommodation and for auxiliary aids when the barriers to communication are overt

27
     and obvious. However, in the present case, Plaintiffs did make such requests for

28

                      7
                                                                                COMPLAINT
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 1
     accommodation to eliminate overt and obvious barriers to its rental services
 2
     communications. Plaintiffs allege that providing effective contact information for
 3
     Defendants’ rental services on the internet is an obvious accommodation. The
 4
     general public does not need to request a contact number from the Defendant
 5
     apartment owner or operator when they desire to rent a place. Defendants provide the
 6
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
 7
     required to provide the obvious accommodation of effective communication for
 8
     people that are deaf or with speech impediment on their website without a request.
 9
     Defendants must make their rental services accessible without the need for a prior
10
     request. Furthermore, Defendants have a duty to remove architectural barriers and
11
     communication barriers to their rental services without request.
12
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
13
     amenities being offered to people without disabilities and people with disabilities.
14
     All the below facts and the facts stated elsewhere herein have a disparate impact on
15
     the disability community. The named Plaintiffs experienced and have knowledge of
16
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
17
     operates an apartment property. The property is located at 5720-5740 Gaines St, San
18
     Diego, CA 92110. The property was built in 1972 and has 224 units. The rent is
19
     approximately: $2,200 - $2,700. The internet provides a wealth of information
20
     regarding the property. The internet advertises that the property has amenities that
21

22
     include: Laundry Facilities, Trash Pickup – Curbside, Gated, Walk To Campus, High

23
     Speed Internet Access, Heating, Ceiling Fans, Smoke Free, Tub/Shower,

24
     Dishwasher, Kitchen, Oven, Range, Refrigerator, Carpet, Vinyl Flooring, Walk-In

25
     Closets, Linen Closet, Window Coverings, Balcony, Patio, Application Fee $43,

26
     Utilities Included, Water, Trash Removal, Sewer, Lease Options 1 Year, No Pets

27
     Allowed, Parking 1 space. The property advertises on redfin.com, forrent.com,

28

                      8
                                                                                  COMPLAINT
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 1
     apartmentfinder.com, apartmenthomeliving.com, zumper.com. It is very important to
 2
     know that on redfin.com, forrent.com, apartmentfinder.com,
 3
     apartmenthomeliving.com, zumper.com, homes.com there is the equal housing
 4
     opportunity logo. The plaintiff alleges that there is disparate treatment on the internet
 5
     related to the amenities being offered to people without disabilities and people with
 6
     disabilities. For example, the tow signage was not installed. The accessible parking
 7
     space had an access aisle, which was not van accessible. The aisle did not have the
 8
     “no parking” included in the access aisle. The office had a high threshold. There was
 9
     no International Symbol of Accessibility signage. The Internet does not state the
10
     accessible amenities at all. Also, the statement the “equal housing opportunity
11
     statement” is misleading. In fact, the property is not completely accessible. All the
12
     above facts and the facts stated herein have a disparate impact on the disability
13
     community.
14
     20.   On Defendants’ websites, they allow the public without deafness and without
15
     speech impairments to participate by providing them with a telephone number to
16
     call. However, Plaintiff Club members that are deaf and or with speech impairments
17

18
     are denied equal access to participate because the Defendants do not have any

19
     effective communication.

20
     21.   Defendants provide websites for people without disabilities to benefit from the

21
     rental services without going to the apartments to learn about the properties.

22
     However, for people with disabilities that require the access to the facility, the

23
     Defendants do not provide any information on the websites regarding if the rental

24
     services located both on or off the property are accessible. Moreover, the Defendants
25   provide the telephone number for the public to call to inquire about the rental
26   services without providing any effective alternative communications for Plaintiffs
27   and other people that are deaf or have speech impairments.
28

                      9
                                                                                 COMPLAINT
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  1
      22.   For people without disabilities, the Defendants provide all of the information
  2
      on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  3
      the Property to determine if it is accessible, then require them to request the effective
  4
      communication, and then thereafter to request a reasonable accommodation to the
  5
      overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  6
      and other people with disabilities to suffer a separate benefit.
  7
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  8
      related to the physical access of each of the apartments within Exhibit B to this
  9
      complaint. The purpose of Defendants’ internet photographs is to entice perspective
 10
      renters to apply online or to contact the Defendants to rent a place. Defendants’
 11
      internet photographs only entice people without mobility disabilities. Defendants’
 12
      internet photographs exclude any photographs of any accessible features that would
 13
      aid the Plaintiffs. For example, there is no photograph of accessible parking. There
 14
      are no photographs of the accessible route to the rental services both on or off the
 15
      property. There are photographs of the accessible route to the rental services. There
 16
      are no photographs related to the access to get into and use the rental services. There
 17

 18
      are no photographs related to the accessible route of the common area. There are no

 19
      photographs of the accessible units. In fact, all the photographs lead a person with a

 20
      mobility disability to believe that the apartments are not accessible, or that they must

 21
      have someone go to the properties to make sure it is accessible. However, people

 22
      without disabilities are not required to go to the Property to see if it is accessible.

 23
      24.   Defendants websites and Defendants’ rental services are not integrated for

 24
      people with disabilities as required. Plaintiffs are required to request an
 25   accommodation. People without disabilities can access the websites and the rental
 26   services without any problem, but Plaintiffs and other people with disabilities are
 27   required to request for separate rental services. People with mobility conditions are
 28

                       10
                                                                                    COMPLAINT
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  1
      not integrated when using the websites because they must go to the apartments to
  2
      determine if they are accessible, but people without disabilities need only access
  3
      Defendants’ websites to determine they can use them. People that are blind and with
  4
      low vision disabilities must request help to read the website information because the
  5
      printed information is too small, but people without disabilities can access the
  6
      websites without asking for help. Plaintiffs and other people with deafness or people
  7
      with speech condition must ask for help calling the number on the websites, because
  8
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  9
      texting system. Defendants discriminated against the Plaintiffs.
 10
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
 11
      in December, 2023, and on a second subsequent date, to access the rental services.
 12
      The Named Individual Plaintiff has actual knowledge of Defendants’ overt and
 13
      obvious physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’
 14
      Property on-site rental services that this Named Individual Plaintiff intended to visit
 15
      in December, 2023, and on a second subsequent date, but this Plaintiff was deterred
 16
      from accessing Defendant’s rental services located on the Property. Defendants
 17
      provide rental information, rental applications, and other rental services on-site at the
 18
      Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
 19
      rental applications, and other rental services were available on-site at the Property.
 20
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
 21
      travel from the sidewalk to the rental services is not accessible since it has excessive
 22
      slopes without handrails and step changes in level along the path. There is an
 23
      excessive and steep slope without handrails that must be traversed to access the main
 24
      entrance door leading into the complex. The main entrance door leading into the
 25
      complex fails to have the required smooth and uninterrupted surface at the bottom of
 26
      the door. Defendant’s callbox is located too high to be accessible. Throughout the
 27
      complex, there are numerous step changes on level and uneven surfaces that must be
 28

                       11
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  1
      traversed. Defendants do not provide the required directional signage as to the
  2
      designated path of travel from the sidewalk to Defendant’s rental services.
  3
      Defendant’s rental services entrance is not accessible due to a significant step change
  4
      in level at the rental services door threshold that is not beveled or ramped. The
  5
      Named Individual Plaintiff has mobility disabilities and these step changes in level,
  6
      excessive slopes, and the other stated issues cause the path of travel and the rental
  7
      services entry to be not accessible. Defendants failed to provide any directional
  8
      signage indicating an alternate accessible path of travel to the rental services.
  9
      Defendants failed to provide the required fully compliant van accessible disabled
 10
      parking for the rental services. Defendants failed to provide a dimensionally
 11
      compliant van accessible disabled parking space and disabled parking access aisle,
 12
      the required disabled parking signage, including tow away signage, fine signage,
 13
      ground markings, and failed to locate said parking on a level surface and nearest the
 14
      rental services. Defendants also failed to provide compliant tow away signage. The
 15
      Named Individual Plaintiff requires the use of a compliant van accessible disabled
 16
      parking space to safely exit and re-enter the vehicle. Defendants’ failure to provide
 17
      the required compliant disabled parking, disabled parking access aisle, disabled
 18
      parking disability signage, access aisle, and disability ground markings, such that the
 19
      Named Individual Plaintiff is not able to safely park at Defendants’ establishment
 20
      since the individual Plaintiff may be precluded from exiting or re-entering the
 21
      vehicle if the disabled parking and disabled parking signage is not present and others
 22
      park improperly. Additionally, Defendants failed to provide the required accessible
 23
      path of travel from the parking area to the rental services since the existing path of
 24
      travel has step changes in level and slopes that exceed the maximum permitted.
 25
      Additionally, Defendants overt and obvious communication barriers were also
 26
      present at the rental services in December, 2023, and on a second subsequent date.
 27
      Defendants failed to provide any method of text communication with their rental
 28

                       12
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  1
      services and failed to publish any information as to how to initiate text
  2
      communication contact. The Named Individual Plaintiff had actual knowledge of
  3
      these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
  4
      Individual Plaintiff was deterred from accessing Defendants’ rental services at the
  5
      Property again in February, 2024. See Property photos in Exhibit B and Exhibit C.
  6
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  7
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
  8
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
  9
      other people with disabilities. Plaintiff Club, its Club members, and the named
 10
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
 11
      conditions, and they are currently deterred from attempting further access until the
 12
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
 13
      return to Defendants’ Property and Defendants websites at the end of this action to
 14
      obtain rental services, and to verify that the communication and architectural barriers
 15
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
 16
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
 17
      members have actual knowledge of the discriminatory conditions as alleged herein
 18
      when the Plaintiff Club investigated the Property and the rental services and
 19
      determined that the Club members would not be able to use the rental services due to
 20
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
 21
      deterred from visiting the properties. Plaintiff Members were not required to
 22

 23
      actually visit the properties. See Civil Rights Education & Enforcement Center v.

 24
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of

 25
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at

 26
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans

 27
      to visit at the conclusion of this case to obtain rental information and to verify the

 28

                       13
                                                                                  COMPLAINT
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  1
      Defendants ceased its discriminatory conduct by removing communication and
  2
      physical barriers to access to the rental services.
  3

  4
       DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  5
      FAIR HOUSING ACT CLAIMS
  6
      27.   FHA Standing:
  7
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  8
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  9
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
 10
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
 11
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
 12
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
 13
      Defendants’ apartment complex since it has more than 4 residential units. FHA
 14
      standing is substantially broader than standing under the ADA due to the critically
 15
      important need of adequate availability of housing for the disabled. A potential
 16
      plaintiff is not even required to have an interest in renting a particular property or
 17
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
 18
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 19
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 20
      whether or not the target of the discrimination, can sue to recover for his or her own
 21
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 22
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 23
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 24
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 25
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 26
      and that the named Plaintiffs suffered monetary and other damages as a result. The
 27
      named Plaintiffs seek injunctive relief as well as damages, both of which are
 28

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                                                                                   COMPLAINT
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  1
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  2
      prospective injunctive relief was not available to Plaintiffs due to mootness or
  3
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  4
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  5
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  6
      Thousand (3000) miles away and her injunctive claims became moot. However,
  7
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
  8
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  9
      above Ninth Circuit Harris court authority makes it clear that those prudential
 10
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
 11
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
 12
      prospective injunctive relief is not available. The present Plaintiff Club has
 13
      organization standing separately on its own under the FHA. Additionally, under the
 14
      FHA, Plaintiff Club has associational standing to assert its Club member claims
 15
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
 16
      Club and the named Individual Plaintiff have standing with respect to the following
 17
      FHA claims.
 18

 19
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 20
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 21
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 22
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 23
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 24
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 25
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 26
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
 27
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
 28

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                                                                                  COMPLAINT
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  1
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  2
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  3
      scheme permits disparate impact claims, and those type of claims do not require
  4
      intent]. due to Defendants’ communication and architectural barriers, Defendants
  5
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
  6
      Plaintiffs to make a reasonable accommodation request for equal access to their
  7
      rental services on their website or at their Property. Defendants have an affirmative
  8
      duty to have a policy, process to receive such accommodation requests and to
  9
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
 10
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
 11
      discrimination.
 12

 13
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
 14
      Housing Act And California Fair Employment And Housing Act
 15
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 16
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
 17
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
 18
      engage in a good-faith interactive process to determine and to implement effective
 19
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 20
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 21
      services both on or off the property and apartments.
 22
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 23
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 24
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 25
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 26
      discriminate against any person in the terms, conditions, or privileges of sale or
 27
      rental of a dwelling, or in the provision of services or facilities in connection with
 28

                        16
                                                                                   COMPLAINT
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  1
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  2
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  3
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  4
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
  5
      services located on the Property or off-site are “services” in connection with the
  6
      rental of a dwelling and the on-site or off-site rental services provided fall within the
  7
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
  8
      failure to remove communication and architectural barriers to permit access to
  9
      Defendant’s on-site rental services contained is a separate, independent, actionable
 10
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
 11
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
 12
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
 13
      The 9th Circuit Smith court stated that the mere observation of overt architectural
 14
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
 15
      into the statute beyond mere observation, however, ignores that many overtly
 16
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
 17
      disabled individual from forming the requisite intent or actual interest in renting or
 18
      buying for the very reason that architectural barriers prevent them from viewing the
 19
      whole property in the first instance” (emphasis in original)]. The Smith court found
 20
      Defendants liable under this FHA subsection even though that case did not involve
 21
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 22
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 23
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 24
      had actual knowledge of Defendants’ communication and architectural barriers and
 25
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 26
      services located thereon. Defendants also discriminated against Plaintiffs by failing
 27
      to modify its practices and policies to provide access via other methods of access to
 28

                       17
                                                                                  COMPLAINT
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  1
      its rental services located on or off the property site. Defendant’s failure to remove
  2
      the architectural and communication barriers to access its facilities and the rental
  3
      services located thereon, or failure to provide an accommodation to provide methods
  4
      of alternate access to their rental services, constitutes the prohibited discrimination,
  5
      separately and independently. Additionally, Defendant’s conduct is also prohibited
  6
      under ADA Title III and constitutes a second, separate, independent source of
  7
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
  8
      discriminatory conduct involves Defendants’ rental facilities and its rental services
  9
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
 10
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
 11
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
 12
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
 13
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
 14
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
 15
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
 16
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
 17
      to make reasonable accommodations in rules, policies, practices, or services, when
 18
      such accommodations may be necessary to afford such person equal opportunity to
 19
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 20
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 21
      repeated written and other requests for an accommodation to have equal access to its
 22
      rental services.
 23
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 24
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 25
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 26
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 27
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 28

                         18
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  1
      Defendants discriminated against them when Defendants made, printed, or
  2
      published, or caused to be made printed, or published notices, statements, or
  3
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
  4
      tenants without disabilities. Defendants' Internet advertising regarding its rental
  5
      services has an unlawful disparate impact on Plaintiffs.
  6

  7
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  8
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  9
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
 10
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
 11
      reasonable accommodations in rules, policies, practices, or services in violation of
 12
      CA Government Code sections 12927 and 12955.2, when these accommodations
 13
      may be necessary to afford a disabled person equal opportunity to use and enjoy
 14
      Defendants’ rental services. As stated in detail above, Defendants refused to make
 15
      reasonable accommodations with the instant Plaintiffs and discriminated against each
 16
      of them on the basis of disability.
 17

 18
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
 19
      The Americans With Disabilities Act Of 1990
 20
      34.   ADA Standing:
 21
            ADA Title III does cover public and common use areas at housing
 22
      developments when these public areas are, by their nature, open to the general
 23
      public. An office providing rental services is open to the general public. (See U.S.
 24
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 25
      Illustration 3, office on or off the site covered). The parking and paths of travel to
 26
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 27

 28

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  1
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  2
      3: A private residential apartment complex contains a office on or off the site. The
  3
      office on or off the site is a place of public accommodation”). See Kalani v Castle
  4
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  5
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  6
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  7
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
  8
      provide rental services at the property. Following prior sister Circuit Courts of
  9
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
 10
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
 11
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
 12
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
 13
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
 14
      does not require a Plaintiff to have a personal encounter with the barrier to equal
 15
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
 16
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
 17
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
 18
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
 19
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 20
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 21
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 22
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 23
      and regulations as detailed further in the ADA claims stated below. As a result, the
 24
      named Plaintiffs have each suffered injury and each seek only injunctive and
 25
      declaratory relief pursuant to their ADA Claims.
 26
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 27
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 28

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  1
      may be necessary to ensure that no individual with a disability is excluded, denied
  2
      services, segregated or otherwise treated differently than other individuals because of
  3
      the absence of auxiliary aids and services, unless the entity can demonstrate that
  4
      taking such steps would fundamentally alter the nature of the good, service, facility,
  5
      privilege, advantage, or accommodation being offered or would result in an undue
  6
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  7
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  8
      violated said provision. Plaintiffs set forth the factual basis for this claim most
  9
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
 10

 11
      of public accommodation, not services in a place of public accommodation. To limit

 12
      the ADA to discrimination in the provision of services occurring on the premises of a

 13
      public accommodation would contradict the plain language of the statute.” Nat’l

 14
      Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
 15   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
 16   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
 17   provides, it cannot discriminate on the basis of disability in providing enjoyment of
 18   those goods and services”]). An ADA plaintiff may challenge a business’ online
 19   offerings as well. So long as there is a “nexus”—that is, “some connection between
 20   the good or service complained of and an actual physical place”—a plaintiff may
 21   challenge the digital offerings of an otherwise physical business. See Gorecki v.
 22   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
 23   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 24   communication to the instant Plaintiffs and to people with disabilities. In the
 25   present case, Plaintiffs experienced and have knowledge that Defendants failed to
 26   have a required procedure to provide effective communication. Plaintiffs allege that
 27   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 28

                       21
                                                                                   COMPLAINT
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  1
      did not provide any auxiliary aid and the Defendants did not provide any reasonable
  2
      accommodation to the overt and obvious communication barriers, and failed to
  3
      respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  4
      Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  5
      ADA law allows the Defendants to decide what auxiliary aid and reasonable
  6
      accommodation will be provided. In this case, however, Defendants failed to
  7
      provide any reasonable accommodation for the overt and obvious communication
  8
      barriers to equal access to their rental services, failed to provide any auxiliary aid,
  9
      and failed to provide any effective communication. Plaintiffs allege that Defendants’
 10

 11
      websites provide a contact number for the general public, but Defendants failed to

 12
      provide Plaintiffs with the required effective communication using texting or other

 13
      alternate means of communication for Plaintiffs and other people with a deaf

 14
      condition or a speech condition. Defendants’ conduct discriminates against Plaintiff

 15   Club’s members that have hearing disabilities and Club’s members with speech
 16   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
 17   a method to effectively communicate with Plaintiff Club members that have hearing
 18   and speech disabilities, and other people that are deaf or have speech impairments.
 19   CLAIM II: Denial of Participation
 20   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
 21   subject an individual or class of individuals on the basis of a disability or disabilities
 22   of such individual or class, directly, or through contractual, licensing, or other
 23   arrangements, to a denial of the opportunity of the individual or class to participate in
 24   or benefit from the goods, services, facilities, privileges, advantages, or
 25   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 26   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 27   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 28

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                                                                                    COMPLAINT
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  1
      most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  2
      violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  3
      CLAIM III: Participation in Unequal Benefit
  4
      37.   Defendants provide unequal benefit for people with disabilities in violation of
  5
      42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  6
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  7
      believe, and thereon allege that Defendants discriminated against Plaintiffs in
  8
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  9
      specifically at ¶¶ 20-24 above.
 10

 11
      CLAIM IV: Separate Benefit

 12
      38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42

 13
      United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts

 14
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

 15   believe, and thereon allege that Defendants discriminated against Plaintiffs in
 16   violation of said provision. Plaintiffs set forth the factual basis for this claim most
 17   specifically at ¶¶ 20-24 above.
 18

 19   CLAIM V: Integrated Settings
 20   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
 21   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
 22   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 23   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 24   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 25   for this claim most specifically at ¶¶ 20-24 above.
 26   CLAIM VI: Failure To Modify Practices, Policies And Procedures
 27   40.   Defendants failed and refused to provide a reasonable alternative by
 28

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                                                                                    COMPLAINT
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  1
      modifying its practices, policies, and procedures in that they failed to have a scheme,
  2
      plan, or design to accommodate Plaintiff Club, its Club members, the individual
  3
      named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  4
      services, at its websites and at the Property, in violation of 42 United States Code
  5
      12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  6
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  7
      allege that Defendants discriminated against Plaintiffs in violation of said provision.
  8
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  9
      CLAIM VII: Failure To Remove Architectural And Communication Barriers
 10
      41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
 11
      communication barriers as required in violation of 42 United States Code
 12
      12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
 13
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 14
      allege that Defendants discriminated against the named Individual Plaintiff in
 15
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
 16
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
 17
      reviewed all the information and photographs of Defendants’ property. As a result,
 18
      the named Individual Plaintiff has actual knowledge of the physical and
 19
      communication barriers that exist at Defendants’ Property. The named Individual
 20
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
 21
      directly relate to his disabilities, and make it impossible or extremely difficult for
 22
      him to physically access Defendants’ rental services at the Property. The named
 23
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 24
      communication barriers that exist at Defendants’ Property which include but are not
 25
      limited to the barriers to facilities and services for disabled parking, exterior path of
 26
      travel to the rental services at the property, entrance and interior, since said
 27
      Defendants’ facilities and rental services were not accessible because they failed to
 28

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  1
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
  2
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
  3
      Plaintiff had actual knowledge of these barriers and determined that it would be
  4
      futile gesture for him to go to the Property on the date that he had originally
  5
      intended. The named Individual Plaintiff is currently deterred from returning due to
  6
      his knowledge of the barriers. At the end of this action, the named Individual
  7
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
  8
      rental information and verify that the communication and physical barriers to
  9
      Defendants’ rental services are removed. Defendants failure to remove the barriers
 10
      to equal access constitutes discrimination against the named Individual Plaintiff.
 11
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
 12
      42.   Defendants are required to make alterations to their facilities in such a manner
 13
      that, to the maximum extent feasible, the altered portions of the facility are readily
 14
      accessible to and usable by individuals with disabilities, including individuals who
 15
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
 16
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
 17
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
 18
      Defendants altered their facility in a manner that affects or could affect the usability
 19
      of the facility or a part of the facility after January 26, 1992. In performing the
 20
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 21
      manner that, to the maximum extent feasible, the altered portions of the facility are
 22
      readily accessible to and usable by individuals with disabilities, including individuals
 23
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
 24
      CLAIM IX: Administrative Methods
 25

 26
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

 27
      with website providers without making sure that the websites will be accessible to

 28

                       25
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  1
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
  2
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  3
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  4
      discriminated against the named Individual Plaintiff in violation of said provision.
  5
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
  6
      CLAIM X: Screen Out
  7
      44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
  8
      out Plaintiffs and other people with disabilities in violation of 42 United States Code
  9
      12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 10
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 11
      allege that Defendants discriminated against the named Plaintiffs in violation of said
 12
      provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
 13
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and
 14
      processes, because Defendants failed to remove architectural and communication
 15
      barriers to its website and property, failed to provide required effective alternate
 16
      communication methods, and failed to provide required auxiliary aids.
 17

 18

 19
      CLAIM XI: Denial Of Full And Equal Access

 20
      45.   Defendants are required to provide full and equal access to Defendants' rental

 21
      services, goods, facilities, privileges, advantages, or accommodations pursuant to 42

 22
      United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶

 23
      8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and

 24
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
 25   of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 26   at ¶¶ 8 - 26 above.
 27   ///
 28

                       26
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  1

  2   CLAIM XII: Failure To Investigate And Maintain Accessible Features
  3
      46.    Defendants made repairs and administrative changes which violated ADA and
  4
      its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  5
      features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  6
      Defendants failed to provide and then maintain any accessible features in its parking,
  7
      path of travel, on or off the property site for rental services and website rental
  8
      services. Plaintiffs are informed, believe, and thereon allege that Defendants
  9
      discriminated against the named Plaintiffs in violation of this provision.
 10

 11   CLAIM XIII: Association
 12
      47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 13
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 14
      against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
 15

 16         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
 17          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
 18   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
 19                                 ACCESSIBILITY LAWS
 20   CLAIM I: Denial Of Full And Equal Access
 21   48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 22   named Individual Plaintiff was denied full and equal access to Defendants' goods.
 23   services, facilities, privileges, advantages, or accommodations within a public
 24   accommodation owned, leased, and/or operated by Defendants as required by Civil
 25   Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 26   18-28 above.
 27   CLAIM II: Failure To Modify Practices, Policies And Procedures
 28

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  1
      49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  2
      the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  3
      Defendants failed and refused to provide a reasonable alternative by modifying its
  4
      practices, policies, and procedures in that they failed to have a scheme, plan, or
  5
      design to assist Plaintiff Members and/or others similarly situated in entering and
  6
      utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  7
      this claim is at 18-28 above.
  8
      CLAIM III: Violation Of The Unruh Act
  9
      50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 10
      the individual, the named Individual Plaintiff was denied full and equal access to
 11
      Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
 12
      failing to comply with Civil Code §51(f). Defendants' facility violated state
 13
      disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
 14
      Building Code by failing to provide equal access to Defendants’ facilities.
 15
      Defendants did and continue to discriminate against Plaintiff Members in violation
 16
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
 17
                 Treble Damages Pursuant To California Accessibility Laws
 18
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 19
      only the named Individual Plaintiff prays for an award of treble damages against
 20
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 21
      54.3(a). Defendants, each of them respectively, at times prior to and including the
 22
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 23
      rental services, and continuing to the present time, knew that persons with physical
 24
      disabilities were denied their rights of equal access. Despite such knowledge,
 25
      Defendants, and each of them, failed and refused to take steps to comply with the
 26
      applicable access statutes; and despite knowledge of the resulting problems and
 27
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 28

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  1
      and each of them, have failed and refused to take action to grant full and equal access
  2
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  3
      and each of them, have carried out a course of conduct of refusing to respond to, or
  4
      correct complaints about, denial of disabled access and have refused to comply with
  5
      their legal obligations to make Defendants’ public accommodation facilities and
  6
      rental services accessible pursuant to the ADAAG and Title 24 of the California
  7
      Code of Regulations (also known as the California Building Code). Such actions
  8
      and continuing course of conduct by Defendants in conscious disregard of the rights
  9
      and/or safety of the named Individual Plaintiff justify an award of treble damages
 10
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
 11

 12
                          DEMAND FOR JUDGMENT FOR RELIEF:
 13
      A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
 14
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
 15
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
 16
      this court to enjoin Defendants to cease their discriminatory practices in housing
 17
      rental services, rental housing management services, and for Defendants to
 18
      implement written policies and methods to respond to reasonable accommodation
 19
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
 20
      request this Court enjoin Defendants to remove all barriers to equal access to the
 21
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
 22
      architectural and communicative barriers in the provision of Defendants’ rental
 23
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 24
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 25
      not seek any relief at all pursuant to Cal. Civil Code §55.
 26
      B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 27
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 28

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  1
      damages on behalf of its members;
  2
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  3
      to Cal. Civil Code §§ 52 or 54.3;
  4
      D.    Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  5
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  6
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  7
      E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  8
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  9
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
 10
      § 54.1;
 11
      F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
 12
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
 13
      G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
 14
      Civil Code §§ 52(a) or 54.3(a);
 15
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
 16
      Defendants to provide obvious reasonable accommodations, to provide the required
 17
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
 18
      Defendants in the provision of Defendants’ rental services. Without perspective
 19
      relief the Plaintiffs will suffer future harm.
 20
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                                                                               COMPLAINT
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  1
      I.    All named Plaintiffs seek a Jury Trial and;
  2
      J.    For such other further relief as the court deems proper.
  3

  4   Respectfully submitted:
  5
                                                   LIGHTNING LAW, APC
  6
      Dated: February 10, 2024
  7
                                            By:    /s/David C. Wakefield
  8                                                DAVID C. WAKEFIELD, ESQ.
  9
                                                   Attorney for Plaintiffs

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